Case 23-10831-MFW    Doc 1057-1    Filed 03/04/24   Page 1 of 5




                         Exhibit I-1

       Schedule of Contracts Rejected Pursuant to Plan
                                               Case 23-10831-MFW                         Doc 1057-1                  Filed 03/04/24              Page 2 of 5


                                                                                          Schedule of Rejected Contracts
                                                    Counterparty of Landlord Address and/or
               Counterparty or Landlord                                                                              Contract Description                               Debtor             Rejection Effective Date
                                                                   Email Address
                                                   1223 Fairfield Rd.
1    Adam Kroll                                                                               Employment Agreement                                               Lordstown Motors Corp.      Effective Date of Plan
                                                   Glencoe, IL 60022
                                                   200 Broadacres Drive, 3rd Floor
2    Alliance Advisors, LLC                                                                   Master Services Agreement                                          Lordstown Motors Corp.      Effective Date of Plan
                                                   Bloomfield, NJ 07003
                                                   25535 Wareham Drive
3    Andrew W. Reyntjes                                                                       Employment Agreement                                               Lordstown Motors Corp.      Effective Date of Plan
                                                   Huntington Woods, MI 48070
                                                   425 California Street, Suite 2600
4    Ankura Consulting, LLC                                                                   Engagement Letter                                                  Lordstown Motors Corp.      Effective Date of Plan
                                                   San Francisco, CA 94104
                                                   2600 ANSYS Drive
5    ANSYS, Inc.                                                                              Purchase Order 118107 (LSTC LS-DYNA Large System Core - Lease)     Lordstown Motors Corp.      Effective Date of Plan
                                                   Canonsburg, PA 15317
                                                   2600 ANSYS Drive
6    ANSYS, Inc.                                                                              Quotation (LSTC LS-DYNA Large System Core - Lease)                 Lordstown Motors Corp.      Effective Date of Plan
                                                   Canonsburg, PA 15317
                                                   2600 ANSYS Drive
7    ANSYS, Inc.                                                                              Software License Agreement                                         Lordstown Motors Corp.      Effective Date of Plan
                                                   Canonsburg, PA 15317
                                                   228 Park Ave S Suite 88617
8    AP Expert Group                                                                          Expert Services Agreement                                          Lordstown Motors Corp.      Effective Date of Plan
                                                   New York, NY 88617
                                                   2200 Woodcrest Pl.
     Arthur J. Gallagher Risk Management Services,
9                                                  Ste. 250                                   Client Services Agreement                                          Lordstown Motors Corp.      Effective Date of Plan
     Inc.
                                                   Birmingham, AL 35209-1324
                                                   2180 Lenox Park Blvd., 10th Floor
10   AT&T Mobility LLC                                                                        Test Sim Agreement                                                 Lordstown Motors Corp.      Effective Date of Plan
                                                   Atlanta, GA 30319
                                                   12900 Park Plaza Dr., Suite 200
11   AuditBoard, Inc.                                                                         Order From                                                         Lordstown Motors Corp.      Effective Date of Plan
                                                   Cerritos, CA 90703
                                                   Key Tower
12   Baker & Hostetler LLP                         127 Public Square, Suite 2000              Letter re: Confirmation of Engagement as Counsel                  Lordstown EV Corporation     Effective Date of Plan
                                                   Cleveland, OH 44114-1214
                                                   Key Tower
13   Baker & Hostetler LLP                         127 Public Square, Suite 2000              Letter re: Confirmation of Engagement as Counsel                   Lordstown Motors Corp.      Effective Date of Plan
                                                   Cleveland, OH 44114-1214
                                                   127 Public Sq., Ste. 2000
14   Baker Hostetler                                                                          Statement of Work                                                 Lordstown EV Corporation     Effective Date of Plan
                                                   Cleveland, OH 44114
                                                   6th Floor at Ford Field
15   Bodman PLC                                    1901 St. Antoine Street                    Letter re: Engagement of Bodman PLC                                Lordstown Motors Corp.      Effective Date of Plan
                                                   Detroit, MI 48226
                                                   900 Cottage Grove Road                     OAP Base Plan, OAP Enhanced Plan, HDHP Plan, Dental Base Plan &
16   Cigna Health And Life Insurance Company                                                                                                                    Lordstown EV Corporation     Effective Date of Plan
                                                   Bloomfield, CT 06002                       Dental Buy Up Plan Insurance Policies (00631629)
                                                   P.O BOX 630910
17   Cintas Corporation No.2 - Payer#18650915                                                 Purchase order 118742 dated July 31, 2023                         Lordstown EV Corporation     Effective Date of Plan
                                                   Cincinnati, OH 45262
                                                   1701 John F Kennedy Blvd
18   Comcast Business                                                                         Comcast Enterprise Services Sales Order Form                       Lordstown Motors Corp.      Effective Date of Plan
                                                   Philadelphia, PA 19103-2838
     Comcast Cable Communications Management, 1701 John F Kennedy Blvd
19                                                                                            Comcast Business Service Order                                     Lordstown Motors Corp.      Effective Date of Plan
     LLC                                           Philadelphia, PA 19103-2838
                                                   1645 W Hamlin
20   Corporate Dining, Inc                                                                    Purchase order 118447 dated May 3, 2023                           Lordstown EV Corporation     Effective Date of Plan
                                                   Rochester Hills, MI 48309
     Cox Communications California, LLC., Cox      27121 Towne Centre Dr
21                                                                                            Purchase order 118771 dated July 23, 2023                         Lordstown EV Corporation     Effective Date of Plan
     California Telcom, LLC                        Foothill Ranch, CA 92610
                                                   30200 Telegraph #158
22   Custodial Building Services, Inc                                                         Purchase order 118440 dated May 30, 2023                          Lordstown EV Corporation     Effective Date of Plan
                                                   Bingham Farms, MI 48025
                                                   30200 Telegraph #158
23   Custodial Building Services, Inc                                                         Purchase order 118848 dated May 30, 2023                          Lordstown EV Corporation     Effective Date of Plan
                                                   Bingham Farms, MI 48025
                                                   3575 Roland Drive
24   Daniel Ninivaggi                                                                         Amended and Restated Employment Agreement                          Lordstown Motors Corp.      Effective Date of Plan
                                                   Bloomfield Hills, MI 48301
                                                  Case 23-10831-MFW                     Doc 1057-1                   Filed 03/04/24          Page 3 of 5


                                                   Counterparty of Landlord Address and/or
              Counterparty or Landlord                                                                                Contract Description                           Debtor             Rejection Effective Date
                                                                   Email Address
                                                  30444 Cascade Court
25   Donna L. Bell                                                                           Employment Agreement                                             Lordstown Motors Corp.      Effective Date of Plan
                                                  Southfield, MI 48076
                                                  23068 Kristy Lane
26   Edward T. Hightower                                                                     Amended and Restated Employment Agreement                        Lordstown Motors Corp.      Effective Date of Plan
                                                  Southfield, MI 48033
                                                  Teslova Ulica 30
27   Elaphe Propulsion Technologies LTD.                                                     Facilities and Support Agreement                                Lordstown EV Corporation     Effective Date of Plan
                                                  Ljubljana 1000 Slovenia
                                                  90 Park Ave
28   Foley & Lardner LLP                                                                     Engagement Letter Agreement                                      Lordstown Motors Corp.      Effective Date of Plan
                                                  New York, NY 10016-1314
                                                  4568 Mayfield Road, Suite 204
29   Foxconn EV System LLC                                                                   Manufacturing Supply Agreement                                  Lordstown EV Corporation     Effective Date of Plan
                                                  Cleveland, OH 44121
                                                  4568 Mayfield Road, Suite 204
30   Foxconn EV System LLC                                                                   Purchase order 117863 dated June 16, 2023                       Lordstown EV Corporation     Effective Date of Plan
                                                  Cleveland, OH 44121
                                                  Attention: Jerry Hsiao
31   Foxconn Ventures Pte. Ltd.                   No. 66, Zhongshan Road                     Investment Agreement                                             Lordstown Motors Corp.      Effective Date of Plan
                                                  New Taipei City, 23680
                                                  38555 Hills Tech Drive
32   GAC R&D Center Detroit, LLC                                                             Landlord's Consent to Sublease                                  Lordstown EV Corporation     Effective Date of Plan
                                                  Farmington Hills, MI 48331
                                                  38555 Hills Tech Drive
33   GAC R&D Center Detroit, LLC                                                             Sublease                                                        Lordstown EV Corporation     Effective Date of Plan
                                                  Farmington Hills, MI 48331
                                                  38555 Hills Tech Dr.
34   GAC R&D Center Detroit, LLC                                                             GAC/LMC Lease Agreement modification addendum                    Lordstown Motors Corp.      Effective Date of Plan
                                                  Famington Hills, MI 48331
                                                  38555 Hills Tech Drive
35   GAC R&D Center Detroit, LLC                                                             Lease                                                            Lordstown Motors Corp.      Effective Date of Plan
                                                  Farmington Hills, MI 48331
                                                  268 Bush Street #350
36   GitLab Inc.                                                                             Professional Services Agreement                                  Lordstown Motors Corp.      Effective Date of Plan
                                                  San Francisco, CA 94104
                                                  268 Bush Street #350
37   GitLab Inc.                                                                             Renewal Order Form                                               Lordstown Motors Corp.      Effective Date of Plan
                                                  San Francisco, CA 94104
                                                  268 Bush Street #350
38   GitLab Inc.                                                                             Subscription Agreement                                           Lordstown Motors Corp.      Effective Date of Plan
                                                  San Francisco, CA 94104
                                                  Plot 287 (A), Lengkok Kampung Jawa Satu
39   Greatech Intergration (M) Sdn. Bhd.          Bayan Lepas Fiz Phase 3                    Airfreight Reimbursement Agreement                              Lordstown EV Corporation     Effective Date of Plan
                                                  11900 Penang, Malaysia
                                                  Plot 287 (A), Lengkok Kampung Jawa Satu
40   Greatech Intergration (M) Sdn. Bhd.          Bayan Lepas Fiz Phase 3                    Purchase of Equipment                                           Lordstown EV Corporation     Effective Date of Plan
                                                  11900 Penang, Malaysia
                                                  6000 Headquarters Drive, Suite 200
41   Haynes and Boone, LLP                                                                   Engagement Letter re: Legal Representation                       Lordstown Motors Corp.      Effective Date of Plan
                                                  Plano, TX 75024
                                                  200 Connell Drive Suite 5000
42   Hewlett-Packard Financial Services Company                                              Business Lease Agreement (Lease Number: 5542969051222479USA1)   Lordstown EV Corporation     Effective Date of Plan
                                                  Berkeley Heights, NJ 07922
                                                  200 Connell Drive
43   Hewlett-Packard Financial Services Company                                              Business Lease Agreement (Lease Number: 5542969051228412USA2)   Lordstown EV Corporation     Effective Date of Plan
                                                  Berkeley Heights, NJ 07922
                                                  200 Connell Drive Suite 5000
44   Hewlett-Packard Financial Services Company                                              Letter re: Business Lease Agreement                             Lordstown EV Corporation     Effective Date of Plan
                                                  Berkeley Heights, NJ 07922
                                                  2400 N Glenville Dr, C150
45   Infosys Limited                                                                         Purchase order 118888 dated July 13, 2023                       Lordstown EV Corporation     Effective Date of Plan
                                                  Richardson, TX 75082
                                                  2400 N Glenville Dr, C150
46   Infosys Limited                                                                         Purchase order 118889 dated June 27, 2023                       Lordstown EV Corporation     Effective Date of Plan
                                                  Richardson, TX 75082
                                                  2400 N Glenville Dr, C150
47   Infosys Limited                                                                         Letter of Engagement                                             Lordstown Motors Corp.      Effective Date of Plan
                                                  Richardson, TX 75082
                                                  520 Madison Ave.
48   Jefferies LLC                                                                           Engagement Letter re: Transactions                               Lordstown Motors Corp.      Effective Date of Plan
                                                  New York, NY 10022
                                                  7130 Holiday Drive
49   Jill Coniglio-Kirk                                                                      Employment Agreement                                             Lordstown Motors Corp.      Effective Date of Plan
                                                  Bloomfield Hills, MI 48301
                                                 Case 23-10831-MFW                      Doc 1057-1                   Filed 03/04/24                 Page 4 of 5


                                                   Counterparty of Landlord Address and/or
              Counterparty or Landlord                                                                               Contract Description                                  Debtor             Rejection Effective Date
                                                                 Email Address
                                                 7031 Orchard Lake Road Suite 302
50   Joseph Kallabat & Associate, P.C.                                                       Letter re: Confirmation of Representation                              Lordstown Motors Corp.      Effective Date of Plan
                                                 West Bloomfield, MI 48322
                                                 437 Madison Avenue, 37th Floor
51   Kekst and Company, Incorporated                                                         Engagement Letter re: Retained for Corporate Communications Counsel    Lordstown Motors Corp.      Effective Date of Plan
                                                 New York, NY 10022
     Luis Mayen dba Guarantee Details Cleaning   11 E. Normandy PL
52                                                                                           Purchase order 118520 dated July 1, 2023                              Lordstown EV Corporation     Effective Date of Plan
     dba G.D.C.                                  Santa Ana, CA 92701
                                                 48572 Carnegie Way
53   Lumma Clean LLC                                                                         Purchase order 119137 dated July 3, 2023                              Lordstown EV Corporation     Effective Date of Plan
                                                 Macomb, MI 48042
                                                 1649 Four Seasons Drive
54   Melissa Leonard                                                                         Employment Agreement                                                   Lordstown Motors Corp.      Effective Date of Plan
                                                 Akron, OH 44333
                                                 37435 Bunker Hill Dr
55   Michael Port                                                                            Employment Agreement, as amended                                       Lordstown Motors Corp.      Effective Date of Plan
                                                 Solon, OH 44139
                                                 101 Constitution Ave, Suite 900
56   Nelson Mullins Riley & Scarborough LLP                                                  Letter re: Terms of Engagement                                         Lordstown Motors Corp.      Effective Date of Plan
                                                 Washington, DC 20001
                                                 9711 Washingtonian Blvd., Suite 700
57   Open Text Inc.                                                                          Purchase order 106170 dated May 23, 2023                              Lordstown EV Corporation     Effective Date of Plan
                                                 Gaithersburg, MD 20878
                                                 9711 Washingtonian Blvd., Suite 700
58   Open Text Inc.                                                                          Purchase order 111548 dated May 31, 2023                              Lordstown EV Corporation     Effective Date of Plan
                                                 Gaithersburg, MD 20878
                                                 500 Oracle Parkway
59   Oracle America, Inc.                                                                    Oracle Ordering Document                                               Lordstown Motors Corp.      Effective Date of Plan
                                                 Redwood Shores, CA 94065
                                                 1313 North Market Street
60   Potter Anderson & Corroon LLP               P.O. Box 951                                Engagement Letter Agreement                                            Lordstown Motors Corp.      Effective Date of Plan
                                                 Wilmington, DE 19899-0951
                                                 711 High Street
61   Principal Life Insurance Company                                                        Group Long Term Disability Insurance (GLT 1119738)                    Lordstown EV Corporation     Effective Date of Plan
                                                 Des Moines, IA 50392
                                                 711 High Street
62   Principal Life Insurance Company                                                        Group Member Life Insurance (GL 1119738)                              Lordstown EV Corporation     Effective Date of Plan
                                                 Des Moines, IA 50392
                                                 711 High Street
63   Principal Life Insurance Company                                                        Group Short Term Disability Insurance (GST 1119738)                   Lordstown EV Corporation     Effective Date of Plan
                                                 Des Moines, IA 50392
                                                 711 High Street
64   Principal Life Insurance Company                                                        Group Vision Care Expense Insurance (GVE 1119738)                     Lordstown EV Corporation     Effective Date of Plan
                                                 Des Moines, IA 50392
                                                 120 N LaSalle St Suite 2000
65   Prospect Law LLP                                                                        Letter re: Confirmation of Representation                              Lordstown Motors Corp.      Effective Date of Plan
                                                 Chicago, IL 60602
                                                 920 N King Street
66   Richards Layton & Finger                                                                Letter re: Engagement of Richards, Layton & Finger, P.A.               Lordstown Motors Corp.      Effective Date of Plan
                                                 Wilmington, DE 19801
                                                 1600 E. Grand Blvd., #300
67   Robar PR                                                                                Public Relations Services Agreement                                    Lordstown Motors Corp.      Effective Date of Plan
                                                 Detroit, MI 48211
                                                 30 South Wacker Drive Suite 3000            Statement of Work Record-Report and Procedure-To-Pay
68   RSM US LLP                                                                                                                                                     Lordstown Motors Corp.      Effective Date of Plan
                                                 Chicago, IL 60606                           Transformation
                                                 151 O'Connor Street, Ground Floor
69   Shopify Inc.                                                                            Terms of Service and Receipts                                          Lordstown Motors Corp.      Effective Date of Plan
                                                 Ottawa, ON K2P 2L8
                                                 One North Wacker Drive, Suite 3925
70   Silverman Consulting                                                                    Letter re: Engagement                                                 Lordstown EV Corporation     Effective Date of Plan
                                                 Chicago, IL 60606
                                                 23 Mauchly #100
71   Sonitrol Orange County, LLC                                                             Purchase order 119008 dated August 1,2023                             Lordstown EV Corporation     Effective Date of Plan
                                                 Irvine, CA 92618
     Staples, Inc dba Staples Contract &         500 Staples Drive
72                                                                                           Purchase order 118244 dated January 1, 2023                           Lordstown EV Corporation     Effective Date of Plan
     Commercial, LLC                             Framingham, MA 01702
                                                 125 Broad Street
73   Sullivan & Cromwell LLP                                                                 Engagement Letter re: Terms of Engagement                              Lordstown Motors Corp.      Effective Date of Plan
                                                 New York, NY 10004-2498
                                                 6501 Deane Hill Dr
74   TAG Resources, LLC                                                                      Amendment(s) Cycle 3 Restatement and the Plan                         Lordstown EV Corporation     Effective Date of Plan
                                                 Knoxville, TN 37919
                                                 6501 Deane Hill Drive
75   TAG Resources, LLC                                                                      Guide to Restatement                                                  Lordstown EV Corporation     Effective Date of Plan
                                                 Knoxville, TN 37919
                                        Case 23-10831-MFW                     Doc 1057-1                     Filed 03/04/24             Page 5 of 5


                                         Counterparty of Landlord Address and/or
             Counterparty or Landlord                                                                        Contract Description                       Debtor             Rejection Effective Date
                                                       Email Address
                                        Nirmal Building
76   Tata Consulting Services Limited   9th Floor                                  Purchase order 118858 dated June 6, 2023                     Lordstown EV Corporation     Effective Date of Plan
                                        Nariman Point, 400021 India
                                        Nirmal Building
77   Tata Consulting Services Limited   9th Floor                                  Purchase order 118953 dated June 6, 2023                     Lordstown EV Corporation     Effective Date of Plan
                                        Nariman Point, 400021 India
                                        10866 Linda Vista Dr.
78   Waqar Hasim                                                                   Relocation Offer Letter                                       Lordstown Motors Corp.      Effective Date of Plan
                                        Cupertino, CA 95014
                                        Southeast Financial Center
79   White & Case LLP                   200 South Biscayne Boulevard, Suite 4900   Engagement Letter re: Restructuring of the Company            Lordstown Motors Corp.      Effective Date of Plan
                                        Miami, FL 33131-2352
                                        260 E. Brown St.
80   Willowgreen Building Group, LLC    Ste. 280                                   Landlord's Consent to Sublease                               Lordstown EV Corporation     Effective Date of Plan
                                        Birmingham, MI 48009
                                        260 E. Brown Street, Suite 280
81   Willowgreen Building Group, LLC                                               Lease                                                        Lordstown EV Corporation     Effective Date of Plan
                                        Birmingham, MI 48009
                                        35 W. Wacker Dr
82   Winston & Strawn LLP                                                          Engagement Letter                                             Lordstown Motors Corp.      Effective Date of Plan
                                        Chicago, IL 60601
                                        1370 Broadway 15th Floor
83   WIT Legal, LLC                                                                Expert Services Agreement                                     Lordstown Motors Corp.      Effective Date of Plan
                                        New York, NY 10018
